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                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia


 In re:                                                                                Case No.: 05−11896−JSD
 Eleanor Jones Hamilton                                                                Judge: John S. Dalis
        Debtor
                                                                                       Chapter: 13
                    ORDER AND NOTICE TO SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED

The captioned case is subject to dismissal for the following reason(s):

                              (   x   )    Debtor(s) failed to appear at the meeting of Creditors.
                              (       )    Debtor(s) failed to pay filing fee.
                              (       )    Voluntary request for dismissal.


IT IS HEREBY ORDERED that unless Debtor(s) or other parties in interest request to be heard in writing on or before
September 15, 2005 , said case will be dismissed WITH PREJUDICE barring the refiling of a petition within 180 days .




                                                                    John S. Dalis
                                                                    United States Bankruptcy Judge
                                                                    PO Box 1487
                                                                    Augusta, GA 30903
Dated August 24, 2005



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